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                                  Exhibit 2


          Declaration of John A. Safarli in Support of City’s Reply


                         Glatt v. City of Pasco, et al.
                          No. 4:16-CV-05108-LRS
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        SECOND SUPPLEMENTAL REPORT OF PETER A. MORRISON, Ph.D.

                                    Glatt v. City of Pasco, et al.
                                     No. 4:16-CV-05108-LRS


                                     School District Boundaries

1. In Paragraph 4 of the Supplemental Declaration of William S. Cooper (dated November 1,

   2016), Mr. Cooper disputes my claim that “the City’s 2016 boundaries appear to be closely

   coextensive with the boundaries of the Pasco School District.” He states that the Pasco city

   boundaries are “not ‘closely coextensive’” with Pasco School District. This semantic

   difference—“closely coextensive” vs. “not ‘closely coextensive’”—is a red herring and rings

   hollow.

2. To the eye, city and school district boundaries are not visually coextensive, since the latter

   encompasses large swaths of sparsely settled territory outside Pasco’s city limits.

   Functionally, though, they are closely coextensive, in that the City’s total population (62,452,

   according to Cooper) comprises 92% of the school district’s population (68,155). Close to all

   of the people (although not all the acreage) in City are, in fact, within the school district.

                                   Methodological Differences

3. In Paragraph 8 of Mr. Cooper’s Supplemental Declaration, he raises the first substantive

   issue: “Dr. Morrison uses a different method to disaggregate block group-level CVAP data to
   census blocks than my method. But the bottom line CVAP percentage differences between

   the two methods for Pasco by district and citywide are not significant.”

4. My method does indeed differ from Mr. Cooper’s, and for an important reason: His

   methodology is not consistent with standard demographic practice when using sample data.

   It does not follow demographic “best practices” (as dictated by US Census Bureau practice)

   as mine does. In prior testimony, I have exposed important inconsistencies in Mr. Cooper’s

   primitive method, which undermine my confidence in its results.1

1 See: SUPPLEMENTAL EXPERT REPORT OF PETER MORRISON, Ph.D. in Montes v. City

of Yakima, U.S. District Ct., Eastern District of WA, at paragraphs #1 - #4 and #13. Online at:



                                                                Exhibit 2, Page 001
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                                                                                                 2


                                     Population Projection

5. In Paragraph 10, Mr. Cooper states: “Dr. Morrison has not provided details on how he

   projected 43% for the 2021 Pasco LCVAP . . .”

6. Here are the details, along with validation of method to date. I use straightforward cohort

   progression, starting with 2010 data (see Table 1 below). The column labelled “2021” shows

   42.6% Hispanic projected for 2021. The “2015” column shows 37.7% Hispanic projected for

   2015. This projected 37.7% compares favorably with the actual 38.5% published value

   (shown in the right-hand column labelled “2015 Actual”), recorded on the 2015 American

   Community Survey. This favorable comparison to date validates my cohort projection

   method as a forecast. Excel file available upon request.


    Table 1. Projected Hispanic Share of CVAP in 2021 and 2015 Validation of Method




https://www.academia.edu/29811660/Supplemental_Report_of_Peter_A._Morrison_Ph.D




                                                              Exhibit 2, Page 002
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                                                                                                    3


7. In Paragraph 12, Mr. Cooper opines that “[I]t is unlikely that the citywide 5-year LCVAP

   estimate will be above 40% during the 2021 redistricting cycle. A 2021 survey midpoint for

   the 5-year ACS will not be available until the 2019-2023 ACS, which will be released at the

   block group level in January 2025.”

8. Mr. Cooper’s point here is that the 2021 redistricting cycle will necessarily draw upon a

   “stale” 5-year ACS file, with a survey midpoint of 2017 at that time. Redistricting efforts

   necessarily rely on the most current available (yet invariably “stale”) data. In mid-2021, that

   5-year ACS file with a 2017 midpoint will indeed reflect the world four years ago (when,

   according to my Table 1 above, the Hispanic share of CVAP will be 39.5%). By late-2021,

   though, the 2020 1-year ACS measure of this Hispanic share (for the city as a whole) will

   update that “stale” estimate to mid-2020. Thus, the finalization of district boundaries likely

   to be done in early 2022 will be based on a near-perfect alignment in time: the full census

   count (referenced to April 1, 2020) and the 2020 1-year ACS estimate of Hispanics’ share of

   CVAP citywide (referenced to mid-2020).

9. The above clarification discredits Mr. Cooper’s subsequent statement at Paragraph 14: “In

   sum, while it is probable that for the 2021 redistricting cycle Pasco will be Latino citizen-

   majority under the 2016-2020 ACS – assuming no further dilutive annexations – Pasco will

   clearly not have a majority of Latino citizens of voting age by the 2021 cycle.”
                    Effect of Annexations on Latino Share of Population

10. In Paragraph 13, Mr. Cooper crafts a comparison that, intentionally or not, deceives the

   Court. The logic he advances is the reverse of what he states.

11. Mr. Cooper first reports the 1-year 2015 ACS Latino share of the total population as 49.7%,

   which describes Pasco as of 2015 (including all post-2010 annexations the Census Bureau

   incorporated in fielding its 2015 survey). Next, he juxtaposes the earlier 5-year 2010-2014

   ACS Latino share of the total population (45.02%), which describes Pasco as of 2012 (which

   necessarily excludes post-2014 annexations). The lower Latino share as of 2012 relative to
   Latinos’ higher share as of 2015 documents Latinos’ rising share over time. Logic alone



                                                              Exhibit 2, Page 003
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                                                                                                  4


   precludes attributing the difference to “post-Census 2010 annexations,” because post-2010

   annexations through 2014 can only be a subset of all post-2010 annexations through 2015.

                                           Split Precincts

12. In Paragraph 15, Mr. Cooper disputes my claim that “district boundaries under Defendants’

   Plan ‘align with virtually all the City’s existing precincts.’ In fact, the Defendants’ Plan

   splits populated areas in 9 of the 67 precincts encompassing all or part of Pasco.” This

   semantic difference—“virtually all” vs. 58 of 67—is a further red herring which rings

   hollow. Let us substitute “the vast majority (87%)” for “virtually all” here.

                                Latino Registered Voter Share

13. In Paragraph 16, Mr. Cooper challenges my estimate that Latinos represent 44% of all

   registered voters citywide. I assert that Latinos, as of October 2016, constitute 31.8% of

   Spanish-surnamed registered voters and therefore at least 31.8% of Hispanic registered

   voters of October 2016. (I routinely compute a related analytic measure—the implied

   “%Hispanic” share—which adjusts for false positives and negatives suggest what that

   standard “% SSN” measure might imply). Here is the supporting documentation for

   computing that analytic measure:

           a. Obtain the list of current registered voters from the Franklin County, WA

              Elections Department.
           b. Identify those registrants with Spanish surnames by matching each registrant’s

              surname against the US Census Bureau’s official dictionary of 12,497 surnames

              for identifying persons of probable Hispanic origin.

           c. Derive the “% Hispanic” among registrants by correcting the generally accepted
              measure (% Spanish Surnamed) for “false positives” and “false negatives” using

              state-specific correction factors in Perkins, 1993, Table 3

              (https://www.census.gov/population/www/documentation/twps0004.html ). This

              analytic measure accounts for self-identified Hispanics with a non-Spanish
              surname (e.g., Hispanic females married to non-Hispanic males) and self-



                                                               Exhibit 2, Page 004
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                                                                                                5


               identified non-Hispanics with a Spanish surname (e.g., non-Hispanic females

               married to Hispanic males). The specific correction factors for the State of

               Washington are: SOM=30.67 and SCOM=22.34%.

   14. In paragraph 17, Mr. Cooper references his use of raw “Spanish Surnamed” counts of

       2015 registered voters. To clarify the difference between our data: I rely on Spanish-

       surnamed counts of October 2016 registered voters—i.e., updated to 2016—that are

       corrected for “false positives” and “false negatives”. Accordingly, my measure of

       Latinos’ presence among registered voters is both more current and more accurate than

       Mr. Cooper’s 2015 measures, based on uncorrected raw counts of Spanish-surnamed

       registrants more than a year ago.


I declare under penalty of perjury that the foregoing is true and correct.



Executed on November 15, 2016




Peter A. Morrison, Ph.D.




                                                               Exhibit 2, Page 005
